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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

 ANTHONY FRANCHI, Individually and On                )
 Behalf of All Others Similarly Situated,            )
                                                     )
                         Plaintiff,                  )
                                                     )   Case No. 1:18-cv-00075-LPS
         v.                                          )
                                                     )
 YUME, INC., MITCHELL HABIB, ADRIEL                  )
 LARES, ELIAS NADER, CHRISTOPHER                     )
 PAISLEY, ERIC SINGER, JOHN MUTCH,                   )
 BRIAN KELLEY, STEVE DOMENIK,                        )
 RHYTHMONE, PLC, REDWOOD                             )
 MERGER SUB I, INC., and REDWOOD                     )
 MERGER SUB II, INC.,                                )
                                                     )
                         Defendants.                 )

                    PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i),

plaintiff Anthony Franchi (“Plaintiff”) voluntarily dismisses the above-captioned action (the

“Action”) as moot with prejudice as to Plaintiff only, and without prejudice as to Plaintiff’s claims

on behalf of the putative class in the Action. Because this notice of dismissal is being filed with

the Court before service by defendants of either an answer or a motion for summary judgment,

Plaintiff’s dismissal of the Action is effective upon the filing of this notice.

 Dated: March 22, 2018                               RIGRODSKY & LONG, P.A.

                                              By: /s/ Brian D. Long
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